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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                    :
                                             :
                v.                           :
                                             :         Case Number 23-cr-55 (JMC)
 KENNETH JAY BONAWITZ,                       :
                                             :         Detention Hearing: March 13, 2023
                       Defendant.            :

             GOVERNMENT’S EXHIBIT LIST FOR DETENTION HEARING

        The United States of America, by and through its attorney, the United States Attorney for

 the District of Columbia, respectfully submits the below list of exhibits which will be proffered

 at the Detention Hearing scheduled in the above-captioned case.

                      Exhibit       Type            Description
                        1           Video     Body Worn Camera of
                                              MPD Officer BS
                         2          Video     Body Worn Camera of
                                              MPD Officer SH
                         3          Video     Body Worn Camera of
                                              MPD Officer PN
                         4          Video     Body Worn Camera of
                                              MPD Officer EM


                                                      Respectfully submitted,

DATED: March 10, 2023                                 MATTHEW M. GRAVES
                                                      United States Attorney
                                                      D.C. Bar No. 481052

                                            By:       /s/ Sean P. McCauley
                                                      Sean P. McCauley
                                                      New York Bar No. 5600523
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